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Aerseat ’ Hon. Deborah A. Kaplan ss i
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SUPREME COURT OF THE STATE OF NEW YORK : enact Cl.

COUNTY OF NEW YORK

 

E. JEAN CARROLL,

Plainiiff,

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|
-against- | Index No. 160694/2019
|
DONALD J. TRUMP, in his personal capacity,

Dejendant.

 

RROPASERAORDER PERMITTING ALTERNATIVE SERVICE
Upon the annexed affirmation of Roberta A. Kaplan, Esg., dated November 8, 2019, and

all supporting papers annexed thereto, it is hereby:
ORDERED that service of process shall be directed pursuant to CPLR § 308(5) upon

Defendant Donald J. Trump as follows:
Vattt-sugh simethat eounsst-for Defiidadtin thisactipa bits bbed Ney Plaintiff E.

Jean Carroll shall be permitted to serve Me oe by mailing the summons and all other papers to
Lt8 OLRM que Marl And by Avst Classy nea. |
Defendant at the two addresses below, and emailing a copy of such papers to Defendant’s attorneys

below:

Donald J. Trump
Trump Tower

725 Fifth Avenue
New York. NY. 10022

Donald J. Trump

White House

1600 Pennsylvania Ave NW
Washington, DC 20500

Richard F. Brueckner

Law Offices of Alan S. Futerfas
rbrueckner@ futerfaslaw.com

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People v. Trump, Index. No. 451130/2018 (N.Y. Sup. Ct.)

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Zervos v. Trump, Index No. 15022/2017 (N.Y. Sup. Ct., N.Y. Cty.)

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Trump v. Deutsche Bank AG, No. 19-1540 (2d Cir.)

 

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Dated: November) ‘VV 2019

    

2 Hon. Deborah A. Kaplan
JS.C.

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